
995 A.2d 974 (2010)
414 Md. 482
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Richard Wayne ALLISON, II, Respondent.
Misc. Docket AG, No. 12 September Term, 2010.
Court of Appeals of Maryland.
June 4, 2010.

ORDER
Upon consideration of the petition for disciplinary action or remedial action based upon reciprocal discipline filed in the above entitled matter in accordance with Md. Rules 16-751 and 16-773 and no response having been made by Richard Wayne Allison, II, the respondent, to the show cause order, it is this 4th day of June 2010:
*975 ORDERED, by the Court of Appeals of Maryland, that Richard Wayne Allison, II be, and he is hereby, disbarred, effective immediately, from the further practice of law in the State of Maryland; and it is further
ORDERED, that the Clerk of this Court shall forthwith strike the name of Richard Wayne Allison, II from the register of attorneys in this Court and shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in the State in accordance with Rule 16-713.
